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              United States Court of Appeals
                             For the First Circuit
No. 15-2354
                                  JUDITH SHAULIS

                                  Plaintiff - Appellant

                                           v.

                        NORDSTROM, INC., d/b/a Nordstrom Rack

                                  Defendant - Appellee


                                      MANDATE

                                Entered: August 17, 2017

       In accordance with the judgment of July 26, 2017, and pursuant to Federal Rule of
Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                         By the Court:

                                         /s/ Margaret Carter, Clerk


cc:
S. James Boumil
John P. Bueker
Phillip Craig Cardon
Joseph Duffy
Rebecca C. Ellis
Konstantine W. Kyros
Dylan John Price
Julie V. Silva Palmer
